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April 3, 2025

VIA ECF
The Honorable Christine P. O’Hearn
United States District Court
District of New Jersey, Camden Division
Mitchel H. Cohen Building & United States Courthouse
4th and Cooper Streets,
Camden, New Jersey 08101

         RE:     Angela Roberts v. Unlock Partnership Solutions, AO1, Inc., et al.
                 D.N.J. Case No.: 1:24-cv-01374-CPO-AMD

Dear Judge O’Hearn:

At the hearing concerning the Show Cause Order [ECF No. 52] on February 20, 2025, the Court ruled that Plaintiff
would file a second amended complaint to address the issues discussed. During that hearing, the Court further
requested that, within fourteen (14) days of Plaintiff filing a second amended complaint, Defendant Unlock
Partnership Solutions AO1, Inc. (“Unlock”), submit a letter advising if it would like to proceed with a new motion
to compel arbitration, or rely on its prior motion [ECF No. 26]. Plaintiff filed a Second Amended Complaint on
March 20, 2025 [ECF No. 79], so this letter is being submitted timely.

After reviewing the amended allegations, and exhibits thereto, Unlock respectfully requests leave to file a new
motion to compel arbitration within thirty (30) days of the Court granting this request. Additionally, Unlock
respectfully requests that all other deadlines, including without limitation Unlock’s deadline to answer or
otherwise respond to the Second Amended Complaint [ECF No. 79] and all discovery-related deadlines, be stayed
while the parties brief and the Court considers whether to compel arbitration on the disputes presented in this
action.

Thank you for your careful consideration of this matter.

Dated: April 3, 2025                                        Respectfully Submitted,

                                                            /s/ Jason R. Lipkin, Esq.
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                                                     Counsel for Defendant Unlock Partnership Solutions
                                                     AO1, Inc.
CC:      All counsel of record (Via ECF)
